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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 SARAH VARGAS ,                )               CV 19-00116 LEK-WRP
                               )
           Plaintiff,          )
                               )
      vs.                      )
                               )
 CITY AND COUNTY OF            )
 HONOLULU; DAVID OH;           )
 THAYNE COSTA ,                )
                               )
           Defendants.         )
 _____________________________ )

                 ORDER ADOPTING MAGISTRATE JUDGE’S
                   FINDINGS AND RECOMMENDATION

       Findings and Recommendation having been filed and served on all parties

 on April 08, 2022, and no objections having been filed by any party,

       IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

 United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the "Findings and

 Recommendation to Grant Defendants City and County of Honolulu and Thayne

 Costa’s Petition for Determination of Good Faith Settlement", ECF No. 436 are

 adopted as the opinion and order of this Court.

       IT IS SO ORDERED.

       DATED AT HONOLULU, HAWAII, April 27, 2022.



                                                         /s/ Leslie E. Kobayashi
                                                         Leslie E. Kobayashi
                                                         United States District Judge
